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                                       ORDERED.
 Dated: July 10, 2024




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

 In re:

 One Fat Frog, Incorporated                              Case No.: 6:24-bk-02620-LVV
                                                         Chapter 11, Subchapter V
                    Debtor.
 _________________________________/

ORDER GRANTING IN PART THE UNITED STATES TRUSTEE’S MOTION: (I) TO
  REMOVE DEBTOR AS DEBTOR IN POSSESSION, OR (II) IF DEBTOR IS NOT
  ELIGIBLE TO PROCEED UNDER SUBCHAPTER V, TO CONVERT CASE TO
CHAPTER 11 AND APPOINT A CHAPTER 11 TRUSTEE OR EXAMINER, OR (III) IN
     THE ALTERNATIVE, TO CONVERT CASE TO CHAPTER 7 [Doc. 50]

          THIS MATTER came on for preliminary hearing before the Court on July 2, 2024, on

United States Trustee’s Motion: (i) to Remove Debtor as Debtor in Possession, or (ii) if Debtor is

Not Eligible to Proceed under Subchapter V, to Convert Case to Chapter 11 and Appoint a Chapter

11 Trustee or Examiner, or (iii) in the Alternative, to Convert Case to Chapter 7 [Doc. 50] (the

“Motion”). The Court reviewed the Motion, the record in this case, and heard the arguments of

counsel. Accordingly, for the reasons stated orally in open court, it is

      ORDERED:

          1.     The Motion is GRANTED in part as set forth herein.
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         2.     Pursuant to 11 U.S.C. § 1185(a), the debtor, One Fat Frog, Incorporated (“Debtor”),

is hereby REMOVED as the debtor in possession.

         3.     The control and management of the Debtor is hereby transferred on an interim basis

to the Subchapter V Trustee, L. Todd Budgen (the “Trustee”).

         4.     The Trustee shall have the expanded powers, authority, and duties as enumerated

under 11 U.S.C. §§ 1183(b)(2) and 1183(b)(5), including the authorization to operate the Debtor

for a period of 30 days or until further ordered from the court.

         5.     During this period, the Trustee shall evaluate the Debtor’s options for financing,

auctioning, or sale of the Debtor to potential buyers and provide a report to the Court prior to the

continued hearing scheduled for August 7, 2024, at 10:00 a.m.

         6.     The Debtor shall immediately:

                a. provide access to all books and records and all computer and accounting

                   software, including access to passwords;

                b. cause the Trustee to be the sole signatory on all debtor-in-possession accounts;

                c. provide full access to Debtor’s premises and personnel; and

                d. cooperate with the Trustee in the performance of his duties.

         7.     The Court shall determine if further cause exists to convert this case to Chapter 7

of the Bankruptcy Code upon evaluating the Trustee’s report as specified in paragraph 5 of this

Order.

         8.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation and interpretation of this Order.

                                                # # #

Service: The Clerk is directed to serve this order on all interested parties.
